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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                          )
BRANDON MICHAEL JACOBS,                   )
                                          )
            Plaintiff,                    )
                                          )
      v.                                  )               Civil Action No. 20-1605 (UNA)
                                          )
FLORENCE Y. PAN,                          )
                                          )
            Defendant.                    )
_________________________________________ )


                                             ORDER

       On June 25, 2020, Chief Judge Howell issued an Order (ECF No. 4) denying plaintiff’s

Motion to Place Case Under Seal (ECF No. 3). The Order further directed the Clerk of Court not

to file the complaint until plaintiff submits notice that the motion to seal is withdrawn and the

plaintiff seeks to proceed with filing the complaint on the public docket. To date, plaintiff has

not submitted such notice.

       Accordingly, it is hereby

       ORDERED that plaintiff’s application to proceed in forma pauperis [2] is DENIED

WITHOUT PREJUDICE; and it is

       FURTHER ORDERED that the Clerk of Court TERMINATE this case.

       SO ORDERED.



       DATE: November 10, 2021                                /s/

                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge
